Case 1:19-cv-00536-PLM-PJG ECF No. 6 filed 07/11/19 PagelD.150 Page 1 of 1
AO 440 (Rev. OVE ESE OAC OSS3SEYPLNMEP IC” ECE No. 4 filed 07/09/19 PagelD.146 Page 2 of 4

SUMMONS IN A CIVIL ACTION

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
Greenbush Brewing Co., et al.
Case No, 1:19-cv-00536-PLM-PJG
Hon, Paul L. Maloney

TO; Andrew J. Deloney, Chairman
ADDRESS:
Constitution Hall
525 W. Allegan Street
Lansing, Ml 48933

Vv.
Michigan Liquor Control Commission, et al

 

A lawsuit has been filed against you. PLAINTIFF OR PLAINTIFF'S ATTORNEY NAME AND ADDRESS
Joseph M. Infante

YOU ARE HEREBY SUMMONED and required to serve _iMMller Canfield

upon plaintiff, an answer to the attached complaint or a motion 99 Monroe ‘Avenue NW, Suite 1200 ;
under Rule 12 of the Federal Rules of Civil Procedure within Grand Rapids, Ml 49503 infante@millercanfield.com
21 days after service of this sum mons on you (not

CLERK OF COURT

counting the day you received it). Ify ou fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.

The Court has offices in the following locations:

399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
P.O. Box 698, 314 Federal Building, Marquette, MI 49855

107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
113 Federal Building, 315 W. Allegan, Lansing, MI 48933

 

July 09, 2019

By: Deputy Clerk Date
PROOF OF SERVICE

This summons for Andrew J. Deloney, Chairman was received by me on .
(name of individual and title, 1fany) date) OCS

[_]I personally served the summons on the individual at
(place where served)
on
(date)

 

 

[JI left the summons at the individual’s residence or usual place of abode with —_ , a person
name,

of suitable age and discretion who resides there, on , and mailed a copy to the individual’s last known address.

~~ ate
~
[JI served the summons on 4h NM (AA 7 je ) CE IT , who is designated by law to accept service

(name of individual)

of process on behalf of Awe J i DEZONEY on 7—| |~ | “] i

 

 

 

(name of organization) ff q (date)
[_]I returned the summons unexecuted because
L)OCther (specify)
My fees are $ for travel and $ for services, for a total of $

I declare under the penalty of perjury that this information is true.
Date:

 

Server's signature

Additional information regarding attempted service, etc.:

 

Server's printed name and title

 

Server's address
